Case 1:04-cr-00020-SHR Document 86 Filed 11/22/11 Page 1of1

AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2) Page | of 2 (Page 2 Not for Public Disclosure)

UNITED STATES DISTRICT COURT

for the

Middle District of Pennsylvania

United States of America

v. )
TYRONE ANTHONY POOLE Case No: 1:04-CR-020 and 1:05-CR-100
) USMNo:  12234-067,
Date of Original Judgment: March 23,2006 _—s-)
Date of Previous Amended Judgment: none = —~—__)._ Lori J. Ulrich, Assistant Federal Public Defender
(Use Date of Last Amended Judgment if Any) Defendant's Attorney

ORDER REGARDING MOTION FOR SENTENCE REDUCTION
PURSUANT TO 18 U.S.C. § 3582(c)(2)

Upon motion of X the defendant © the Director of the Bureau of Prisons 0 the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,

IT IS ORDERED that the motion is:
O DENIED. X GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) Of 132 _. monthsis reduced to —=—————_—*125. months

(Complete Parts | and II of Page 2 when motion ts granted)

FILED
HARRISBURG, PA

NOV 2 2 2011

MARY E. D'ANDREA, CLERK
er

Deputy Clerk

Except as otherwise provided, all provisions of the judgment dated March 23, 2006 _ shall remain in effect.

IT IS SO ORDERED.

Order Date: November 21,2011

Judge's signature

Effective Date: — _____ Sylvia H. Rambo, United States District Judge

(1 if different from order date) Printed name and title
